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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


United States of America,                                  Crim. No. 21-108 (PAM/TNL)

                            Plaintiff,


v.                                                                               ORDER


Tou Thao, J Alexander Kueng,
and Thomas Kiernan Lane,

                            Defendants.

        ___________________________________________________________

      This matter is before the Court on the Government’s Motion for Reconsideration

and Clarification. The Government seeks clarification of the Court’s ruling regarding

medical experts, and reconsideration of the Court’s ruling regarding one juvenile witness.

      The Court continues to believe that the testimony of a young child is unnecessary

in this matter. The Government’s request that the Court reconsider this ruling is denied.

      In the Order on the Motions in Limine, the Court did not preclude the Government

from offering multiple medical experts, but rather only ordered the Government to ensure

that its medical evidence was not cumulative. (Docket No. 195 at 4.) The Government

has supplied the Court with information about the three medical experts it intends to call

as witnesses, and the testimony of these experts is not cumulative. The Government may

propound these witnesses, subject to other objections Defendants may raise.
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         Accordingly, IT IS HEREBY ORDERED that the Motion to Clarify or

Reconsider (Docket No. 199) is GRANTED in part and DENIED in part, as set forth

above.


Dated: Thursday, January 13, 2022          s/ Paul A. Magnuson
                                           Paul A. Magnuson
                                           United States District Court Judge




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